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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

_______________________________________
                                                  )
LAURENCE ROSANSKY, RONALD                         )
ROSANSKY, CHERYL RICHIUTTI,                       )
JONATHAN JAGID, JEFFREY JAGID,                    )
and JOSHUA JAGID,                                 )
                                                  )
                    Plaintiffs,                   )
                                                  )
               i.                                )
                                           )          C.A. No. 1:21-CV-11202-IT
PAUL ZIMBONE and CAROL GREGORY, )
Individually and as Trustee of each of The )
Gregory Revocable Trust, The Gregory       )
Family Trust, and the Carol Jean Gregory   )
Surviving Grantor’s Trust,                 )
                                           )
                   Defendants,             )
                                           )
and                                        )
                                           )
BIGCAMP, LLC,                              )
                                           )
                 Nominal Defendant.        )
_______________________________________)


                        NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiffs Laurence Rosansky, Ronald

Rosansky, Cheryl Richiutti, Jonathan Jagid, Jeffrey Jagid, and Joshua Jagid hereby voluntarily

dismiss this action with prejudice and without costs or attorneys’ fees.
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                                              Respectfully submitted,

                                              LAURENCE ROSANSKY, RONALD
                                              ROSANSKY, CHERYL RICHIUTTI,
                                              JONATHAN JAGID, JEFFREY JAGID, and
                                              JOSHUA JAGID,

                                              By their attorneys,

                                              __/s/ David B. Mack_______________
                                              David B. Mack (BBO # 631108)
                                              dmack@ocmlaw.net
                                              Stephanie R. Parker (BBO #687610)
                                              sparker@ocmlaw.net
                                              O’Connor Carnathan and Mack LLC
                                              67 South Bedford Street, Suite 400W
                                              Burlington, MA 01803
                                              Telephone: 781-359-9005

Dated: October 1, 2021

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on October 1,
2021.




                                              __/s/ David B. Mack_______________
                                                     David B. Mack




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